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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
JULIO J. GARCIA,
Plaintiff,
-vs- Case No.:
NAVIENT SOLUTIONS, INC.,
NAVIENT CORPORATION, and
STUDENT ASSISTANCE CORPORATION,

Defendants.

COMPLAINT

Plaintiff, JULIO J. GARCIA, by and through his undersigned counsel, sues the
Defendants, NAVIENT SOLUTIONS, lNC., NAVIENT CORPORATION, and STUDENT
ASSISTANCE CORPORATION and in support thereof respectfully alleges the following:
l. Plaintiff alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §227 et
seq. (“TCPA”) and the Florida Consumer Collections Practices Act, Chapter 559, et seq.
(“FCCPA”)

INTRODUCTION

2. The TCPA Was enacted to prevent companies from invading American citizen’s privacy
and prevent abusive “robo-calls.”
3. “The TCPA is designed to protect individual consumers from receiving intrusive and

unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,

L.Ed. 2d 881 (2012).

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4. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256 scourge of
modern civilization, they Wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they hound us until We Want to rip the telephone out of the
Wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank F.S.B., 746 F. 3d 1242 (11th cir. 2014).

 

5. According to the Federal Communications Commission (FCC), “Unwanted calls and
texts are the number one complaint to the FCC. There are thousands of complaints to the FCC
every month on both telemarketing and robocalls. The FCC received more than 215,000 TCPA

complaints in 2014." https://vvww.fcc.gov/document/fact-sheet-consumer-protection-proposal

JURISDICTION AND VENUE

6. This is an action for damages exceeding Seventy~Five Thousand Dollars ($75,000.00)
exclusive of interest and costs.

7. Jurisdiction and venue for purposes of this action are appropriate and conferred by 28
U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA
and/or by F.S. § 47.011 and/or by 28 U.S.C. § 1332, diversityjurisdiction.

8. Subject matter jurisdiction, federal question jurisdiction, for purposes of this action is
appropriate and conferred by 28 U.S.C. § 1331, Which provides that the district courts shall have
original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the
United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See Mz`ms v.
Arrow Fl`n. Servs., LLC, 132 S.Ct. 740, 748 (2012) and Osorl`o v. State Farm Bank, F.S.B., 746

F.3d 1242, 1249 (l lth Cir. 2014).

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9. Venue is proper in this District because the Plaintiff resides in this District (Hillsborough
County), the phone calls Were received in this District, and the Defendants transacts business in
Hillsborough County, Florida.

FACTUAL ALLEGATIONS
10. Plaintiff is a natural person, and citizen of the State of Florida, residing in Hillsborough
County, Florida, and resides in this District.
11. Plaintiff is a “consumer” as defined in Florida Statute 559.55(2).
12. Plaintiff is an “alleged debtor.”
13. Plaintiff is the “called party.” See Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637,
643 (7th Cir. 2012), reh'g denied (May 25, 2012).
14. Defendant, NAVIENT SOLUTIONS, INC (hereinafter “Navient Solutions”), is a
corporation With its principal place of business at 2001 Edmund Halley Dr., Reston, VA 20191-
3436 and conducting business in the state of Florida through its registered agent, Corporation
Service Company, 1201 Hays St., Tallahassee, FL 32301.
15. Defendant, STUDENT ASSISTANCE CORPORATION (hereinafter “SAC”), is a
corporation With its principal place of business in Delaware, wherein its registered agent is
Corporation Service Company, 2711 Centerville Rd., Suite 400, Wilmington, DE 19808.
Defendant SAC transacts business in the State of Florida.
16. Defendant NAVIENT CORPORATION (hereinafter “Navient Corp”) is a corporation
With its principal place of business in Delaware, Wherein its registered agent is Corporation
Service Company, 2711 Centerville Rd., Suite 400, Wilmington, DE 19808. Defendant Navinet

Corp transacts business in the State of F lorida.

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17. Defendant, Navient Corp, consented to and has knowledge and control of the activities of
its agents and representatives, supervisors, managers, affiliates, subsidiaries, divisions,
employees, servants, partean, agents, vendors, assignees, transferees, collectors and/or
contractors including but not limited to Navient Solutions and SAC, in their actions related to the
servicing and collection of the alleged account.

18. Upon information and belief, Navient Corp had knowledge of all actions taken by its
agents and subsidiaries Navient Solutions and SAC, and specifically instructed and/or conspired
With them to take such actions as were ultimately taken in regards to Plaintiff.

19. Neither Navient Solutions nor SAC disclosed to Plaintiff the principal/agent or parent
company/subsidiary relationship by and between them, but it was nonetheless eventually clear
that Navient Solutions and SAC at all times material, acted as the agent on behalf of Navient
Corp with respect to the activities described herein.

20. The debt that is the subject matter of this complaint is a “consumer debt” as defined by
Florida Statute §559.55(6).

21. On or about November 1, 2011, Defendants began to bombard Plaintiff on his celluar
telephone with debt collection calls regarding the consumer debt at issue. Plaintiff told
Defendants numerous times to stop calling him

22. On or about January 11, 2015, Plaintiff send written correspondence to Defendants
requesting that the harassing phone calls cease. §§ Composite Exhibit “A.” Despite Plaintiff`s
request, the harassing calls continued.

23. Plaintiff continued to ask Defendants to stop calling, but was told several times that “we

are allowed to call you up eight times a day.”

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24. Plaintiff was not able to keep track of every single call. However, during the time period
of July 11, 2015 through September 23, 2015, Defendants called Plaintiff at least 71 times from
phone numbers 317-550-5549 and 800-335-9188. Plaintiff also received calls from “Unknown
Numbers” but when he answered the calls, a voice came on and identified the number as Naviet.
25. On or about September 25, 2015, Plaintiff received a telephone call from Defendants and
again asked that the calls cease. The representative that Plaintiff spoke to told Plaintiff that he
must send a cease and desist letter, and Plaintiff again said, “Stop calling me.” '1`he representative
laughed.

26. Defendant knowingly and/or willfully harassed and abused Plaintiff on numerous
occasions by calling Plaintiff` s cellular telephone number up to four (4) times a day from
approximately January 11, 2015 through the filing of this complaint, with such frequency as can
reasonably be expected to harass, all in an effort related to the collection of the consume debt at
issue.

27. Upon information and belief, some or all of the calls the Defendants made to Plaintiff’ s
cellular telephone number were made using an “automatic telephone dialing system” which has
the capacity to store or produce telephone numbers to be called, using a random or sequential
number generator (including but not limited to a predictive dialer) or an artificial or prerecorded
voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer
calls”). Plantiff will testify that there was a pause before a live person came on the line.

28. Each of the autodialer calls the Defendants made to Plaintiff"s cellular telephone number
after January 11, 2015 was done so after he had revoked consent and without the “prior

expressed consen ” of the Plaintiff.

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29. Plaintiff is the regular user and carrier of the cellular telephone number, (727) ***- 7997,
and was the called party and recipient of Defendants’ autodialer calls,

30. The autodialer calls from Defendants came from the telephone numbers including but not
limited to 800-335-9188 and 317-550-5549. When these numbers are called, a pre-recorded
voice or representative answers and says, “Thank you for calling Student Assistance
Corporation. This call may be recorded.”

31. Defendants have a corporate policy to use an automatic telephone dialing system or a pre-
recorded or artificial voice, and to make autodialer calls just as they did to Plaintiff’s cellular
telephone in this case, with no way for the called party and recipient of the calls, or the
Defendants, to permit the cessation of the calls.

32. Despite actual knowledge of their wrongdoing, the Defendants continued the campaign of
autodialer calls, well-beyond January 11, 2015, when Plaintiff advised Defendants in writing to
stop calling Plaintiff.

33. Defendants’ corporate policy is structured as to continue to call individuals like the
Plaintiff, despite the individual, like Plaintiff, advising Defendants to stop calling.

34. Defendants’ corporate policies provided no means for the Plaintiff to have his cellular
number removed from the call list, or otherwise permit the cessation of and/or suppression of
calls to Plaintiff.

35. Defendants have numerous other federal lawsuits pending against them alleging similar
violations as stated in this complaint.

36. Defendants have numerous complaints against them across the country asserting that

their automatic telephone dialing system continues to call people who have revoked consent to

be called.

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37. Defendants knowingly employed methods and/or have a corporate policy designed to
harass and abuse individuals and have set up their autodialers in a manner which makes it
virtually impossible for the autodialer calls to stop.
38. Defendants knowingly employed methods that did not permit the cessation of or
suppression of autodialer calls to Plaintiff’ s cellular telephone.
39. Due to Defendants’ constant autodialer calls and demands for payment, Plaintiff has
suffered statutory and actual damages in the form of emotional distress, frustration, worry, anger,
and/or loss of capacity to enjoy life.
COUNT I
NAVIENT SOLUTIONS, INC.
(Violation of the TCPA)

40. Plaintiff incorporates Paragraphs one (1) through thirty-nine (39).
41. Defendant willfully violated the TCPA with respect to the Plaintiff, especially for each of
the auto-dialer calls made to Plaintiff’ s cellular telephone af`ter Plaintiff told Defendant to stop
calling Plaintiff.
42. Defendant knowingly violated the TCPA With respect to the Plaintiff, especially for each
of the auto-dialer calls made to Plaintiff’ s cellular telephone after Plaintiff told Defendant to stop
calling Plaintiff,
43. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff"s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Navient Solutions, Inc. for statutory damages, punitive damages, actual
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damages, costs, interest, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

COUNT II
NAVIENT SOLUTIONS, INC.
(Violation of the FCCPA)
44. Plaintiff incorporates one (l) through thirty-nine (39).
45. At all times relevant to this action, Defendant is subject to and must abide by the law of
Florida, including Florida Statute § 559.72.
46. Defendant has violated Florida Statute §559.72(7) by willfully communicating with the
debtor Or any member of her or his family with such frequency as can reasonably be expected to
harass the debtor or her or his family.
47. Defendant has violated Florida Statute §559.72(7) by willfully engaging in conduct
which can reasonably be expected to abuse or harass the debtor or any member of her or his
family.
48. Defendant’s actions have directly and proximately resulted in Plaintiff" s prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Navient Solutions, lnc. for statutory damages, punitive damages, actual
damages, costs, interest, attorney fees, enjoinder from further violations of these parts and any
other such relief the court may deem just and proper.

COUNT III
STUDENT ASSISTANCE CORP()RATION

(Violation of the TCPA)

49. Plaintiff incorporates Paragraphs one (1) through thirty-nine (3 9).

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50. Defendant willfully violated the TCPA with respect to the Plaintiff, especially for each of
the auto-dialer calls made to Plaintiff`s cellular telephone after Plaintiff told Defendant to stop
calling Plaintiff.

51. Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for each
of the auto-dialer calls made to Plaintiff"s cellular telephone after Plaintiff told Defendant to stop
calling Plaintiff.

52. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’ s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintist prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Student Assistance Corporation for statutory damages, punitive damages,
actual damages, costs, interest, enjoinder from further violations of these parts and any other
such relief the court may deem just and proper.

COUNT IV q
STUDENT ASSISTANCE CORPORATION

(Violation of the FCCPA)
53. Plaintiff incorporates one (l) through thirty-nine (39).
54. At all times relevant to this action, Defendant is subject to and must abide by the law of
Florida, including Florida Statute § 559.72.
55. Defendant has violated Florida Statute §559.72(7) by willfully communicating with the
debtor or any member of her or his family with such frequency as can reasonably be expected to

harass the debtor or her or his family.

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56. Defendant has violated Florida Statute §559.72(7) by willfully engaging in conduct
which can reasonably be expected to abuse or harass the debtor or any member of her or his
family.

57. Defendant’s actions have directly and proximately resulted in Plaintiff’ s prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Student Assistance Corporation for statutory damages, punitive damages,
actual damages, costs, interest, attorney fees, enjoinder from further violations of these parts and
any other such relief the court may deem just and proper.

COUNT V
NAVIENT CORPORATION
(Violation of the TCPA)

58. Plaintiff incorporates Paragraphs one (1) through thirty-nine (39).

59. Defendant willfully violated the TCPA with respect to the Plaintiff, especially for each of
the auto-dialer calls made to Plaintiff" s cellular telephone after Plaintiff told Defendant to stop
calling Plaintiff.

60. Defendant knowingly violated the TCPA With respect to the Plaintiff, especially for each
of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff told Defendant to stop
calling Plaintiff,

61. Defendant repeatedly placed non-emergency telephone calls to Plaintiff` s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice Without
Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

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WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Navient Corporation for statutory damages, punitive damages, actual damages,
costs, interest, enjoinder from further violations of these parts and any other such relief the court
may deem just and proper.

COUNT VI
NAVIENT CORPORATION
(Violation of the FCCPA)
62. Plaintiff incorporates one (1) through thirty-nine (39).
63. At all times relevant to this action, Defendant is subject to and must abide by the law of
Florida, including Florida Statute § 559.72.
64. Defendant has violated Florida Statute §559.72(7) by willfully communicating with the
debtor or any member of her or his family with such frequency as can reasonably be expected to
harass the debtor or her or his family.
65. Defendant has violated Florida Statute §559.72(7) by willfully engaging in conduct
which can reasonably be expected to abuse or harass the debtor or any member of her or his
family.
66. Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Navient Corporation for statutory damages, punitive damages, actual damages,
costs, interest, attorney fees, enjoinder from further violations of these parts and any other such

relief the court may deem just and proper.

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Respectfully submitted,

/s/ Octavio Gomez

Octavio “Tav” Gomez, Esquire
Morgan & Morgan, P.A.

201 North Frankiin street 7th Floor
Tampa, FL 33602

Tele: (813) 223-5505

Fax: (813) 223-5402

Florida Bar #: 338620

Attomey for Plaintiff
TGomez@ForThePeoDle.com

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CoMPosITE
ExHIBIT A

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January 11, 2015

ATiENTlON - SALL|E MAE

PO BOX 3319

Wilmington, DE 19804

RE : Student Loans for - .lULlO GARC|A SS# w 41

______

Attention : SALLlE MAE- PLEASE STOP CALL|NG MY CELL PHONE!

Since l don't'know who to direct this letter to, this following letter below is being sent to Navient to
stop the harassing calls.

l have spoken with different representatives from your many call centers and have asked them
top please STOP CAL|.|NG M¥ CELL PHONE between 3-7 times a day. Not only are you calling me
from so many different locations, l am getting calls from the Philippines as wel|. Your ROBO calls to
my phone, 727-_`____\_-7997 have got to stop. This is ridiculous. Then l get calls from BLOCKED
NUN|BERS, that won't identify themselves with accents that l cannot understand. l can't believe
that you have shared my sensitive personal information with call centers overseas. How secure is
that, not just for my identity, but everyone else?

You have repeatedly for the past several years blown up my phone from different phone
numbers around the country cloaking your identity to the point l had to stop answering calls
because you were wasting my minutes. l am tired of speaking with representatives overseas that l
cannot understand and when told to stop calling my phone, they tell me that there call center

overseas is not subject to the rules and regulations from the USA. AND THE CALLS STlLL KEEP
COMlNG lNl!l!l

Representatives have told me in the USA, that they can't stop calls from hitting my phone and
gave me a few of the following excuses, one excuse l was told is that l have to contact all there 1
locations and deal with them separately, another lame excuse was that if anyone is late they will
persistently call nonstop until a payment is made, that sounds like a threat. Another one said they
would notate my account, but the computers will still call my phone number. one representative
told me that l had to contact Sallie Mae directly, in which they will receive this letter 'as well and
that a letter be sent to the Philippines, and l don't know why since you are here in the USA.

PLEASE bO NOT CALL MY CELL PHONE ANY MORE FOR A_NYTH|NG PERlOD!!!
MA|L ME ANY CORRESFONDENCE BY MA|L!!!

 

Thank you for your prompt attention,

lulio Garcia

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January 11, 2015

ATi'ENTlON - NAV|ENT
P0 BOX 9500
Wilkes-Barre, PA 18773

RE: Student Loans for - JUL|O GARC|A SS# 41 4

____

Attention : Navient - PLEASE STOP CALL|NG MY CEL|. PHONE!

l have spoken with different representatives from your many call centers and have asked them top
please STOP CALL|NG MY CELL PHONE between 3-7 times a day. Not only are you calling me from so
many different locations, l am getting calls from the Philippines as well. Your RGBO calls to my

shared my sensitive personal information with call centers overseas. How secure is that, not just for
my identity, but everyone else?

You have repeatedly for the past several years blown up my phone from different phone
numbers around the country cloaking your identity to the point l had to stop answering calls
because you were wasting my minutes. l am tired of speaking with representatives overseas that l
cannot understand and when told to stop calling my phone, they tell me that there call center

overseas is not subject to the rules and regulations from the USA. AND THE CALLS STlLL KEEP
COM|NG lNlll!l

Representatives have told me in the USA, that they can't stop calls from hitting my phone and
gave me a few of the following excuses, one excuse l was told is that l have to contact all there
locations and deal with them separate|y, another lame excuse was that if anyone is late they will
persistently call nonstop until a payment is made, that sounds like a threat. Another one said they
would notate my account, but the computers will still call my phone number. one representative
told me that l had to contact Sa|lie Mae directly, in which they will receive this letter as well and
that a letter be sent to the Philippines, and l don't know why since you are here in the USA.

ALL SA|D PLEASE DO NOT CALL MY CELL PHONE ANY MORE FCR ANYTH|NG FER|OD|!!
MAlL ME ANY CORRESPONDENCE BY MAlLlll

Sincerely,

lulio Garcia

